               Case 2:16-cr-00198-SMJ                     ECF No. 268               filed 10/18/17       PageID.1114 Page 1 of 11
 2$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
                6KHHW5HYLVHGE\:$('



                                              81,7('67$7(6',675,&7&2857
                                                                                                                                            FILED IN THE
                                                                                                                                        U.S. DISTRICT COURT
                                                                                                                                  EASTERN DISTRICT OF WASHINGTON

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
                                                                                                                                   Oct 18, 2017
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE                              SEAN F. MCAVOY, CLERK
                      V.
                     JASON M. GENGE                                          &DVH1XPEHU           2:16CR00198-SMJ-3

                                                                             8601XPEHU            20303-085

                                                                                    Geana Van Dessel
                                                                             'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Information Superseding Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                       Offense Ended Count
18 U.S.C. §1349                           Conspiracy to Commit Bank Fraud                                                               04/30/14    1s




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                      11        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G              All remaining counts                                G LV      ✔
                                                                              G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               10/17/2017
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                             6LJQDWXUHRI-XGJH




                                                             The Honorable Salvador Mendoza, Jr.                  Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                10/18/2017
                                                             'DWH
                                                             
            Case 2:16-cr-00198-SMJ                    ECF No. 268         filed 10/18/17           PageID.1115 Page 2 of 11
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           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   11
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI

 Time heretofore served by the defendant. Defendant shall not serve any additional term of imprisonment in this matter.

 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.


   G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




   G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP         RQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


                                                                           %\
                                                                                                   '(387<81,7('67$7(60$56+$/
             Case 2:16-cr-00198-SMJ                  ECF No. 268      filed 10/18/17        PageID.1116 Page 3 of 11
$2% 5HY   -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                      -XGJPHQW²3DJH     3    RI        11
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI           4 years




                                                     MANDATORY CONDITIONS
   <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
   <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ
   <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
            G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
               SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
    ✔
      G <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
     G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
         GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
         DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
     G <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

<RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
SDJH
            Case 2:16-cr-00198-SMJ                      ECF No. 268     filed 10/18/17        PageID.1117 Page 4 of 11
$2% 5HY    -XGJPHQWLQD&ULPLQDO&DVH
                        6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        11
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3

                                        STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
      ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
    ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
   ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDW\RXSD\LQDFFRUGDQFH
      ZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW<RXVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLF
      FLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\DQ\XQSDLGDPRXQWRIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW V6LJQDWXUH                                                                                    'DWH
           Case 2:16-cr-00198-SMJ                      ECF No. 268   filed 10/18/17        PageID.1118 Page 5 of 11
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           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                     -XGJPHQW²3DJH     5      RI       11
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. If you pose a risk to another person or an organization, the probation officer may seek permission from the court to require you to
 notify that person or organization about the risk. If the court approves, you must provide the notification. The probation officer may
 contact the person or organization to confirm that you have provided the proper notification.

 2. You must not open, possess, use, or otherwise have access to any checking account, ATM card, or credit card, without the advance
 approval of the supervising officer.

 3. You must not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
 of the supervising officer.

 4. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises may be
 subject to search.

 5. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 6. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 7. You must participate in a vocational services program and follow the rules and regulations of that program. Such a program may
 include job readiness training and skills development program.
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                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                          -XGJPHQW²3DJH       6        RI   11
 '()(1'$17 JASON M. GENGE
 &$6(180%(5 2:16CR00198-SMJ-3
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                  JVTA Assessment*                  Fine                        Restitution
 TOTALS             $        $100.00            $         $0.00                   $          $0.00            $
                                                                                                                            $17,593.22


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                  .$QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

✔
G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

     Name of Payee                                                          Total Loss**             Restitution Ordered      Priority or Percentage
     Natalya Herski                                                                     $100.00                    $100.00
     Geoff McLaughlin                                                                   $200.00                    $200.00
     Terry Burt                                                                         $410.00                    $410.00

     Horizon Credit Union                                                               $595.00                    $595.00

     Pawn 1                                                                             $280.00                    $280.00
     Bank of America FIA Card Services                                                 $1,500.00                  $1,500.00
     Chase Bank                                                                         $430.00                    $430.00
     CitiBank                                                                          $1,800.66                  $1,800.66

     STCU                                                                              $9,385.42                  $9,385.42
     Umpqua Bank                                                                        $500.00                    $500.00

     Umpqua Bank                                                                       $1,067.14                  $1,067.14

                                                          17,593.22                                   17,593.22
 TOTALS                              $                                        $


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUH WKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 ✔ 7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW
 G
       ✔
       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRU WKH           G ILQH      ✔ UHVWLWXWLRQ
                                                                          G
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH        G   UHVWLWXWLRQLVPRGLILHGDVIROORZV

   -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
    )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO
           Case 2:16-cr-00198-SMJ                      ECF No. 268    filed 10/18/17      PageID.1120 Page 7 of 11
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW%²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      7     RI      11
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                        Total Loss*          Restitution Ordered             Percentage

  U.S. Bank                                                                 $1,050.00                $1,050.00
  Money Tree                                                                  $275.00                  $275.00




        )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQ
RUDIWHU6HSWHPEHUEXWEHIRUH$SULO
$2%     Case 2:16-cr-00198-SMJ
             5HY -XGJPHQWLQD&ULPLQDO&DVH    ECF No. 268         filed 10/18/17    PageID.1121 Page 8 of 11
             6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      8     RI       11
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3

                                                         SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G     /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

            G      QRWODWHUWKDQ                                  RU
            G      LQDFFRUGDQFH          G &          G '   G     (RU    G )EHORZRU
B     ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
      G                                                                      G &    G 'RU     ✔)EHORZ RU
                                                                                                 G
C     G     3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G     3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                          HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
            WHUPRIVXSHUYLVLRQRU

E     G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
            LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
      While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
      defendant's net household income, whichever is less, commencing 30 days after entry of this Judgment.




 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHURLGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW
 &RXUW$WWHQWLRQ)LQDQFH32%R[6SRNDQH:$

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

✔ -RLQWDQG6HYHUDO
G
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
           Jason Genge 2:16CR0198-SMJ-3                            $100.00           $100.00     Nataya Herski
           Cybil Imholt 2:16CR0198-SMJ-1                           $100.00           $100.00     Natayla Herski
           Brendon McCullough 2:16CR198-SMJ-2                      $100.00           $100.00     Natayla Herski
G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
G
       See "Additional Forfeited Property" Sheet.



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQW  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQG
FRXUWFRVWV
          Case 2:16-cr-00198-SMJ                      ECF No. 268       filed 10/18/17       PageID.1122 Page 9 of 11
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
          6KHHW$²6FKHGXOHRI3D\PHQWV
                                                                                                    -XGJPHQW²3DJH     9            11
                                                                                                                          RI
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                         Joint and Several                  Corresponding Payee,
(including defendant number)                           Total Amount           Amount                           If appropriate
 Amy Jo Williams 2:16CR0198-SMJ-04                           $100.00              $100.00     Natayla Herski
 Mandy Thomason 2:16CR0198-SMJ-5                              $100.00             $100.00      Natayla Herski
 Jason Genge 2:16CR0198-SMJ-3                                 $200.00             $200.00      Geoff McLaughlin
 Cybil Imholt 2:16CR0198-SMJ-1                                $200.00             $200.00     Geoff McLaughlin
 Brendon McCullough 2:16CR198-SMJ-2                           $200.00             $200.00      Geoff McLaughlin
 Amy Jo Williams 2:16CR0198-SMJ-04                            $200.00             $200.00      Geoff McLaughlin
 Mandy Thomason 2:16CR0198-SMJ-5                              $200.00             $200.00     Geoff McLaughlin
 Jason Genge 2:16CR0198-SMJ-3                                 $410.00             $410.00      Terry Burt
 Cybil Imholt 2:16CR0198-SMJ-1                                $410.00             $410.00     Terry Burt
 Brendon McCullough 2:16CR198-SMJ-2                           $410.00             $410.00      Terry Burt
 Amy Jo Williams 2:16CR0198-SMJ-04                            $410.00             $410.00      Terry Burt
 Mandy Thomason 2:16CR0198-SMJ-5                              $410.00             $410.00      Terry Burt
 Jason Genge 2:16CR0198-SMJ-3                                 $595.00             $595.00     Horizon Credit Union
 Cybil Imholt 2:16CR0198-SMJ-1                                $595.00             $595.00      Horizon Credit Union
 Brendon McCullough 2:16CR198-SMJ-2                           $595.00             $595.00      Horizon Credit Union
 Amy Jo Williams 2:16CR0198-SMJ-04                            $595.00             $595.00      Horizon Credit Union
 Mandy Thomason 2:16CR0198-SMJ-5                              $595.00             $595.00     Horizon Credit Union
 Jason Genge 2:16CR0198-SMJ-3                                 $280.00             $280.00      Pawn 1
 Cybil Imholt 2:16CR0198-SMJ-1                                $280.00             $280.00     Pawn 1
 Brendon McCullough 2:16CR198-SMJ-2                           $280.00             $280.00     Pawn 1
 Amy Jo Williams 2:16CR0198-SMJ-04                            $280.00             $280.00      Pawn 1
 Mandy Thomason 2:16CR0198-SMJ-5                             $280.00              $280.00     Pawn 1
 Jason Genge 2:16CR0198-SMJ-3                               $1,500.00           $1,500.00      Bank of America FIA Services
 Cybil Imholt 2:16CR0198-SMJ-1                              $1,500.00           $1,500.00      Bank of America FIA Services
 Brendon McCullough 2:16CR198-SMJ-2                         $1,500.00           $1,500.00      Bank of America FIA Services
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,500.00           $1,500.00      Bank of America FIA Services
 Mandy Thomason 2:16CR0198-SMJ-5                            $1,500.00           $1,500.00      Bank of America FIA Services
 Jason Genge 2:16CR0198-SMJ-3                                 $430.00             $430.00     Chase Bank
 Cybil Imholt 2:16CR0198-SMJ-1                              $2,309.00           $2,309.00      Chase Bank
 Brendon McCullough 2:16CR198-SMJ-2                         $2,309.00           $2,309.00      Chase Bank
 Amy Jo Williams 2:16CR0198-SMJ-04                            $430.00             $430.00      Chase Bank
 Mandy Thomason 2:16CR0198-SMJ-5                            $2,309.00           $2,309.00     Chase Bank
 Jason Genge 2:16CR0198-SMJ-3                               $1,800.66           $1,800.66      CitiBank
          Case 2:16-cr-00198-SMJ                     ECF No. 268        filed 10/18/17    PageID.1123 Page 10 of 11
AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 6A — Schedule of Payments
                                                                                                   Judgment—Page   10   of       11
DEFENDANT: JASON M. GENGE
CASE NUMBER: 2:16CR00198-SMJ-3

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                          Joint and Several               Corresponding Payee,
(including defendant number)                           Total Amount            Amount                        If appropriate
 Cybil Imholt 2:16CR0198-SMJ-1                              $1,800.66            $1,800.66    CitiBank
 Brendon McCullough 2:16CR198-SMJ-2                         $1,800.66            $1,800.66    CitiBank
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,800.66            $1,800.66    CitiBank
 Mandy Thomason 2:16CR0198-SMJ-5                            $1,800.66            $1,800.66    CitiBank
 Jason Genge 2:16CR0198-SMJ-3                               $9,385.42            $9,385.42    STCU
 Cybil Imholt 2:16CR0198-SMJ-1                             $14,573.70           $14,573.70    STCU
 Brendon McCullough 2:16CR198-SMJ-2                        $14,573.70           $14,573.70    STCU
 Amy Jo Williams 2:16CR0198-SMJ-04                          $9,385.42            $9,385.42    STCU
 Mandy Thomason 2:16CR0198-SMJ-5                           $14,573.70           $14,573.70    STCU
 Jason Genge 2:16CR0198-SMJ-3                                 $500.00              $500.00    Umpqua
 Cybil Imholt 2:16CR0198-SMJ-1                                $500.00              $500.00    Umpqua
 Brendon McCullough 2:16CR198-SMJ-2                           $500.00              $500.00    Umpqua
 Amy Jo Williams 2:16CR0198-SMJ-04                            $500.00              $500.00    Umpqua
 Mandy Thomason 2:16CR0198-SMJ-5                              $500.00              $500.00    Umpqua
 Jason Genge 2:16CR0198-SMJ-3                               $1,067.14            $1,067.14    Umpqua
 Cybil Imholt 2:16CR0198-SMJ-1                              $1,067.14            $1,067.14    Umpqua
 Brendon McCullough 2:16CR198-SMJ-2                         $1,067.14            $1,067.14    Umpqua
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,067.14            $1,067.14    Umpqua
 Mandy Thomason 2:16CR0198-SMJ-5                            $1,067.14            $1,067.14    Umpqua
 Jason Genge 2:16CR0198-SMJ-3                               $1,050.00            $1,050.00    U.S. Bank
 Cybil Imholt 2:16CR0198-SMJ-1                              $1,375.00            $1,375.00    U.S. Bank
 Brendon McCullough 2:16CR198-SMJ-2                         $1,375.00            $1,375.00    U.S. Bank
 Amy Jo Williams 2:16CR0198-SMJ-04                          $1,050.00            $1,050.00    U.S. Bank
 Mandy Thomason 2:16CR0198-SMJ-5                            $1,375.00            $1,375.00    U.S. Bank
          Case 2:16-cr-00198-SMJ                       ECF No. 268   filed 10/18/17     PageID.1124 Page 11 of 11
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           6KHHW%²6FKHGXOHRI3D\PHQWV
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                                                                                                                           RI
'()(1'$17 JASON M. GENGE
&$6(180%(5 2:16CR00198-SMJ-3

                                            ADDITIONAL FORFEITED PROPERTY
   1. Pursuant to 18 U.S.C. § 982(a)(2), the Defendant shall forfeit to the United States the sum of $16,908.22 U.S. currency, which
   shall be a joint and several money judgment representing the value of the proceeds obtained from the Conspiracy to Commit Bank
   Fraud offense alleged in the Information Superseding Indictment, to which the Defendant pleaded guilty.
